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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 DANVILLE DIVISION

                                                 )
STEPHANIE B. HALL,                               )   Case No. 4:05CV00050
                                                 )
               Plaintiff,                        )
                                                 )   ORDER
v.                                               )
                                                 )
WAL-MART STORES, INC.                            )   By: Jackson L. Kiser
                                                 )       Senior United States District Judge
               Defendant.                        )
                                                 )
                                                 )

       For the reasons stated in the accompanying Memorandum Opinion, Defendant’s Motion

for Summary Judgment is DENIED.

       The Clerk is directed to send a copy of this Order and the accompanying Memorandum

Opinion to all counsel of record.

       Entered this 21st day of April, 2006.



                                                 s/Jackson L. Kiser
                                                 Senior United States District Judge
